                            Case 1:18-cv-10472-TLL-PTM ECF No. 45 filed 07/06/18   PageID.696   Page 1 of 46




                                              UNITED STATES DISTRICT COURT
                                          FOR THE EASTERN DISTRICT OF MICHIGAN

                            ADAM KANUSZEWSKI, et al,
                                Plaintiffs,                               Case No.: 18-cv-10472

                                  v.                                     Hon. Thomas L. Ludington,
                                                                            District Court Judge
                            MICHIGAN DEPARTMENT OF
                            HEALTH AND HUMAN                              Hon. Patricia T. Morris,
                            SERVICES, et al,                                Magistrate Judge
                                Defendants
                                                                /
OUTSIDE LEGAL COUNSEL PLC




                            PHILIP L. ELLISON (P74117)              CHRISTOPHER L. KERR (P57131)
                            Outside Legal Counsel PLC               THOMAS S. MARKS (P69868)
     www.olcplc.com




                            Counsel for Plaintiffs                  Assistant Attorneys General
                            PO Box 107                              Michigan Dept of Attorney General
                            Hemlock, MI 48626                       Corporate Oversight Division
                            (989) 642-0055                          Attorneys for State Defendants
                            pellison@olcplc.com                     P.O. Box 30755
                                                                    Lansing, MI 48909
                            JEREMY C. KENNEDY (P64821)              (517) 373-1160
                            JEROLD LAX (P16470)
                            Pear Sperling Eggan & Daniels, PC       THOMAS F. CAVALIER (P34683)
                            Counsel for Michigan Neonatal           Office of the General Counsel
                            BioBank Inc and Dr. Antonio             Wayne State University
                            Yancey (Personal Capacity)              Counsel for Dr. Antonio Yancey
                            24 Frank Lloyd Wright Dr, #D2000        (Personal Capacity)
                            Ann Arbor, MI 48105                     656 W. Kirby, 4249 FAB
                            (734) 665-4441                          Detroit, MI 48202
                            jkennedy@psedlaw.com                    (313) 577-2268
                            jlax@psedlaw.com                        thomas.cavalier@wayne.edu


                                            PLAINTIFFS’ RESPONSE TO CERTAIN
                                          STATE DEFENDANTS’ MOTION TO DISMISS
                            Case 1:18-cv-10472-TLL-PTM ECF No. 45 filed 07/06/18      PageID.697    Page 2 of 46




                                     NOW COME Plaintiffs, by counsel, and oppose the motion to dismiss

                            filed by Defendants Nick Lyon, in his official and individual capacities; Dr.

                            Sandip Shah, sued in his official and individual capacities; Dr. Sarah Lyon-

                            Callo, in her official and individual capacities; and Mary Kleyn, in her official

                            and individual capacities.1 Dismissal as to Defendant Michigan Department

                            of Health and Human Services is warranted due to their non-consent to suit.

                                     Dismissal, except as to Defendant Michigan Department of Health and
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                            Human Services, should be denied for the reasons outlined in the attached
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                            brief.

                             Date: July 6, 2018                       RESPECTFULLY SUBMITTED:

                                                                      /s/ Philip L. Ellison
                                                                      OUTSIDE LEGAL COUNSEL PLC
                                                                      PHILIP L. ELLISON (P74117)
                                                                      Counsel for Plaintiffs
                                                                      PO Box 107, Hemlock, MI 48626
                                                                      (989) 642-0055
                                                                      pellison@olcplc.com




                                     1
                                     Plaintiffs have also sued Harry Hawkins, manager of the Newborn Screening
                             program within MDHHS. Counsel for the State Defendants has informed the undersigned
                             that Mr. Hawkins has since passed away. See https://www.legacy.com/obituaries/name/
                             harry-hawkins-obituary?pid=188308512&view=guestbook.

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                                              UNITED STATES DISTRICT COURT
                                          FOR THE EASTERN DISTRICT OF MICHIGAN

                            ADAM KANUSZEWSKI, et al,
                                Plaintiffs,                               Case No.: 18-cv-10472

                                  v.                                     Hon. Thomas L. Ludington,
                                                                            District Court Judge
                            MICHIGAN DEPARTMENT OF
                            HEALTH AND HUMAN                              Hon. Patricia T. Morris,
                            SERVICES, et al,                                Magistrate Judge
                                Defendants
                                                                /
OUTSIDE LEGAL COUNSEL PLC




                            PHILIP L. ELLISON (P74117)              CHRISTOPHER L. KERR (P57131)
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     www.olcplc.com




                            Counsel for Plaintiffs                  Assistant Attorneys General
                            PO Box 107                              Michigan Dept of Attorney General
                            Hemlock, MI 48626                       Corporate Oversight Division
                            (989) 642-0055                          Attorneys for State Defendants
                            pellison@olcplc.com                     P.O. Box 30755
                                                                    Lansing, MI 48909
                            JEREMY C. KENNEDY (P64821)              (517) 373-1160
                            JEROLD LAX (P16470)
                            Pear Sperling Eggan & Daniels, PC       THOMAS F. CAVALIER (P34683)
                            Counsel for Michigan Neonatal           Office of the General Counsel
                            BioBank Inc and Dr. Antonio             Wayne State University
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                            24 Frank Lloyd Wright Dr, #D2000        (Personal Capacity)
                            Ann Arbor, MI 48105                     656 W. Kirby, 4249 FAB
                            (734) 665-4441                          Detroit, MI 48202
                            jkennedy@psedlaw.com                    (313) 577-2268
                            jlax@psedlaw.com                        thomas.cavalier@wayne.edu


                                         BRIEF REGARDING PLAINTIFFS’ RESPONSE TO
                                       CERTAIN STATE DEFENDANTS’ MOTION TO DISMISS
                            Case 1:18-cv-10472-TLL-PTM ECF No. 45 filed 07/06/18   PageID.699   Page 4 of 46




                                                    QUESTIONS PRESENTED

                                                                  I.
                                                   Do Plaintiffs have standing?

                                                            Answer: Yes


                                                          II.
                                        Does Defendant MDHHS enjoy certain limited
                                  Eleventh Amendment immunity due to its lack of consent?

                                                            Answer: Yes
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                                                                III.
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                                                  Have Plaintiffs pled plausible
                                            Fourth and Fourteen Amendment claims?

                                                            Answer: Yes


                                                                IV.
                                                Is qualified immunity not available
                                               to the individual State Defendants?

                                                            Answer: Yes




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                                                  MOST RELEVANT AUTHORITY

                                                              Standing

                               In re Certification of Questions of Law, Case No. 18-01 (FISCR 2018)
                                                  (available at https://bit.ly/2MQ41nG)

                             Campbell v. Minneapolis Pub. Hous. Auth., 168 F.3d 1069 (8th Cir. 1999)

                                                        Fed. R. Civ. P. 17(c)


                                                 Eleventh Amendment Immunity
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                                            Boler v. Earley, 865 F.3d 391 (6th Cir. 2017)
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                                        Lewis v. Clarke, 581 U.S. __; 137 S. Ct. 1285 (2017)


                                                       Plausibility of Claims

                                                      U.S. Const. am. IV & XIV

                                         Fed. R. Civ. P. 8(a)(2) with Fed. R. Civ. P. 12(b)(6)

                                      Dubbs v. Head Start, Inc. 336 F.3d 1194 (10th Cir. 2003)


                                                        Qualified Immunity

                                      Dubbs v. Head Start, Inc. 336 F.3d 1194 (10th Cir. 2003)

                                          Beleno v. Lakey, 2009 U.S. Dist. LEXIS 140243;
                                               2009 WL 10699345 (W.D. Tex. 2009)

                                                Hope v. Pelzer, 536 U.S. 730 (2002)

                                              Ashcroft v. al-Kidd, 563 U.S. 731 (2011)



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                                                        OPPOSITION BRIEF

                                  Every time the Government is called upon to defend its unconstitutional

                            actions, it tries to paint the circumstances in a prettier picture by blaming or

                            lowering the challengers, trumpet how otherwise great the challenged

                            program actually is, or argue how much ‘good faith’ the offending officials

                            had when the violations occurred. This case is no different. However, the

                            State Defendants hope that by upselling the greatness of the Newborn
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                            Screening Program’s outcomes that this Court misses the illegality of the
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                            process they are undertaking to get there. But the problem is clear: the entire

                            Newborn Screening Program (NSP) forgot to include a major legal and

                            constitutional obligation—consent. “Our notions of liberty are inextricably

                            entwined with our idea of physical freedom and self-determination.” Cruzan

                            v. Director, Missouri Dep’t of Health, 497 U.S. 261, 287 (1990)(O’CONNOR,

                            J., concurring). The State Defendants have stolen or impinged that right of

                            consent by replacing their judgment for the parents’ self-determination—and

                            this is not allowed under our Constitution no matter how great the outcomes

                            of the NSP are. The ends do not justify the unconstitutional means.

                                                                FACTS

                                  Because this matter comes before this Court on a motion to dismiss

                            under Rule 12(b)(6), all the allegations in the First Amended Complaint are



                                                                   1
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                            deemed true and viewed in the light most favorable to Plaintiffs. DirecTV,

                            Inc. v. Treesh, 487 F.3d 471, 476 (6th Cir. 2007). To support this brief,

                            Plaintiffs rely on and incorporate the detailed facts pled in their First

                            Amended Complaint. ECF No. 26. A brief summary is as follows.

                                  A health professional, under threat of criminal prosecution, is required

                            to “administer or cause to be administered” certain medical tests on newborn

                            Michigan Infants. MCL 333.5431(1), (5); ECF No. 26, ¶40. Pursuant to MCL
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                            333.5431(2), MDHHS (and the certain officials sued therein) required
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                            conscripted healthcare professionals to extract blood from Michigan

                            newborns 24-48 hours post-birth by invasively piercing the skin of the

                            newborns and extracting a part of the newborns’ tiny body in the form of six

                            blood spots to conduct testing. Id., ¶¶35, 36, 38, 39. But since the mid-1980s,

                            the State demanded that it, and not the doctor, conduct certain medical tests

                            to extract deeply private medical and genetic information/data from the

                            ‘blood spots’ for the existence of certain non-communitive heredity maladies

                            existing in a small minority of the general Michigan population. Id., ¶¶35, 57.

                            The State Defendants also demanded certain personal data about the Infant

                            and the mother be disclosed without consent. Id., ¶¶50-51. The Defendants

                            never obtain consent from Infants or their Parents prior to searching and

                            seizing the Infants’ blood spots, or keeping the samples indefinitely, or


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                            obtaining the personal data. Id., ¶¶41, 43, 58. They were not given the choice

                            to simply opt-out either; the State has renounced the legal need for any

                            informed consent. Id., ¶45; MCL 333.5431(2); see also MCL 333.17520(1).

                            After the blood data extraction and testing was completed, the remaining

                            Infants’ blood spots are kept and then transferred to the Michigan Neonatal

                            Biobank. Id., ¶¶61, 72. The State and its officials retain the personal and

                            deeply-private medical and genetic information/data in government
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                            databases. Literally millions of non-consensually seized blood samples are
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                            indefinitely kept, after the completion of the all NSP testing, at both at the

                            Biobank in Detroit and also at a MDHHS-operated warehouse in Lansing.

                            Id., ¶¶61, 77.

                                  The Biobank was set up by the State as a private non-profit, existing

                            outside normal government strictures. It operates the warehouse at the

                            Detroit facility run by Defendant Dr. Antonio Yancey. Id., ¶¶75-76. The

                            Biobank never obtained permission or was given consent from the Parents

                            to transfer the samples from the State to itself as a private third-party non-

                            profit. Further, Dr. Yancey is selling the newborns’ blood. ECF No. 26-19;

                            see also ECF No. 26-10; ECF No. 26-15.




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                                   Against this entire backdrop, the Parents did not provide general or

                            informed consent; if they did sign any such document2 purporting to give

                            consent, they had an insufficient understanding and thus had not been given

                            or were provided proper legally sufficient consent. ECF No. 26, ¶¶4, 47-49.

                            Plaintiffs allege Michigan law has no or little legal protections in place for

                            these stored blood samples. Id., ¶¶64, 66-69. Even law enforcement is using

                            the blood samples for criminal investigations and prosecutions. Id., ¶¶12, 74;
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                            ECF No. 26-13. In addition to violations of the constitutional rights of the
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                            Infants and their Parents, there is ongoing clear fear of misuse of both the

                            blood spots, the private medical and genetic information, and of future

                            discrimination against the Infants and perhaps even relatives through the use

                            of such blood samples and research activity thereon. ECF No. 26, ¶¶78-83.

                            That fear is today well-founded and real. ECF No. 26-14, PageID# 375.3



                                   2  Defendants, albeit improperly, attached what it purports to be consent cards as
                             exhibits. ECF No. 32-12. Names are redacted but appear to only be seven of the nine
                             children. That means there is no consent forms for at least two infant plaintiffs and their
                             parents. Of the seven attached, two are flat denials. The remainder show that some were
                             not given notice of the brochure but the consent allegedly given is vague and limited.
                             Plaintiffs have specifically pled that they “did not provide general or informed consent,
                             and if they did so sign such a document they had an insufficient understanding of matters
                             they asked/forced to sign and thus were not given proper informed consent.” ECF No.
                             26, ¶48. Moreover, “[a]ny alleged public understanding as to the use of the blood spots
                             has exceeded the limited uses presented by Defendants for vaguely defined ‘research.’”
                             Id., ¶83.
                                    3 See also Privacy Concerns After Public Genealogy Database Used To ID

                             “Golden State Killer” Suspect, CBS NEWS, April 27, 2018, available at
                             https://cbsn.ws/2jghjx2 (biodata “was his team's biggest tool”).

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                                   Interestingly, as part of the motion, the State Defendants have

                             effectively granted, in small part, one form of relief expressly sought by

                             Plaintiffs: to “advise the Parents for what purposes Defendants are or have

                             been using the blood samples and spots of the Infants.” Compare Id.,

                             ¶118(i) with ECF Nos. 32-13 and 32-14. But because the Infants’ samples

                             are stored at the Biobank, this really does not tell the Parents much of

                             anything at all.
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                                                       STANDARD OF REVIEW

                                   A complaint only requires a “short and plain statement of the claim
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                             showing that the pleader is entitled to relief.” Fed.R.Civ.P. 8(a)(2). “A

                             complaint need not set down in detail all the particularities of a plaintiff's

                             claim.” Decorative Panels v. Intern. Ass’n of Machinists, 996 F.Supp.2d 559,

                             568 (E.D. Mich. 2014)(LUDINGTON, J.). “Complaints initiate the litigation but

                             need not cover everything necessary for the plaintiff to win; factual details

                             and legal arguments come later.” Id. (quoting Doe v. Smith, 429 F.3d 706,

                             708 (7th Cir. 2005)). “To survive a motion to dismiss, the plaintiff need only

                             plead sufficient factual matter… to ‘state a claim to relief that is plausible on

                             its face' meaning that we can draw the reasonable inference that the

                             defendant is liable for the misconduct alleged.’” Currier v. First Resolution

                             Inv. Corp., 762 F.3d 529, 533 (6th Cir. 2014); see also In re Duramax Diesel


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                             Litigation, 2018 U.S. Dist. LEXIS 26543, at *16 (E.D. Mich. 2018)(LUDINGTON,

                             J.)(same). In other words, the complaint must show it is plausible (but not

                             necessarily guarantee) that the State Defendants are liable. Ashcroft v. Iqbal,

                             556 U.S. 662, 678-679 (2009); Bell Atlantic Corp. v. Twombly, 550 U.S. 544,

                             555 (2007). A Rule 12(b)(6) motion is not a Rule 56 motion. Instead, this

                             Court must accept the complaint’s factual allegations as true and then

                             construes the complaint in the light most favorable to the plaintiffs. Keys v.
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                             Humana, Inc., 684 F.3d 605, 608 (6th Cir. 2012). A complaint does not

                             “require heightened fact pleading of specifics, but only enough facts to state
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                             a claim to relief that is plausible on its face.” Bassett v. NCAA, 528 F.3d 426

                             (6th Cir. 2008). In simpler terms, “[t]he issue in reviewing the sufficiency of

                             the complaint is not whether the plaintiff[s] will prevail, but whether the

                             plaintiff[s] [are] entitled to offer evidence to support [their] claims.” Ruiz v.

                             McDonnell, 299 F.3d 1173, 1182 (10th Cir. 2002). “If everything the plaintiffs

                             allege is true, do those allegations establish an injury that the law redresses?

                             If the answer is yes, the case continues, allowing the plaintiffs to gather

                             evidence that proves to a jury, beyond a preponderance of the evidence, that

                             the allegations in their complaint are true.” P.J. v. Utah, 2006 U.S. Dist.

                             LEXIS 40393; 2006 WL 1702585 (Utah 2006)(emphasis in original).

                             Assessment of the facial sufficiency of the complaint under Rule 12(b)(6)


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                             must ordinarily be undertaken without resorting to materials outside the

                             pleadings. Wysocki v. Int'l Bus. Mach. Corp., 607 F.3d 1102, 1104 (6th Cir.

                             2010).4 The Sixth Circuit has, in more recent years, allowed a slightly more

                             expansive view in allowing for review of three classes of records: 1.) public

                             records, 2.) items appearing in the record of the case, and 3.) exhibits

                             attached to defendant's motion to dismiss. However, those classes are

                             conditional and may only be considered so long as these records are both
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                             a.) referred to in the Complaint and b.) are central to the claims contained
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                             therein. Bassett, supra, at 430; Gavitt v. Born, 835 F.3d 623, 640 (6th Cir.

                             2016)(same).

                                   Rule 12(b)(1) motions attacking jurisdiction are slightly different. A Rule

                             12(b)(1) motion can either attack the claim of jurisdiction on its face, in which

                             case all allegations of the plaintiff must be considered as true, or it can attack

                             the factual basis for jurisdiction, in which case the trial court must weigh the

                             evidence and the plaintiff bears the burden of proving that jurisdiction exists.

                             DLX, Inc. v. Kentucky, 381 F.3d 511, 516 (6th Cir. 2004). Here, the State

                             Defendants never actually used any of the attached evidence to attack any




                                   4If a court does consider material outside the pleadings, the motion to dismiss
                             must be treated as a motion for summary judgment under Rule 56 and all parties must
                             be given a reasonable opportunity to present all material pertinent to the motion.
                             Wysocki, supra, at 1104.

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                             particular specifically-pled fact, thus the State Defendants’ merely mounted

                             nothing more than a facial attack (and claimed otherwise to present a prettier

                             political picture, see supra, at 1). When the district court essentially makes

                             no factual findings in deciding it that lacked jurisdiction, “we will treat this as

                             a ‘facial’ 12(b)(1) motion.” Id.

                                                             LIMITED RECORD

                                   Given that the motion under Rule 12(b)(1) and 12(b)(6) require this
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                             Court to deem all of Plaintiffs’ allegations as true and cannot consider
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                             materials outside the record, the State Defendants have improperly attached

                             two affidavits of State employees, one a named party and the other not, plus

                             a bunch of printouts from the State’s website and the signed portions of DBS

                             cards of only a fraction of the Infants involved in the case and does identify

                             to which Infant the card belongs. They also attached NSP promotional and

                             marketing publications. These materials violate the record-limiting rules of

                             these motions. The cited materials are neither attached to the complaint nor

                             meet the Bassett exceptions, and thusly cannot be considered for either

                             portion of the motion, but especially the Rule 12(b)(6) motion.5 As such, the

                             near entirety of the facts section provided in ECF No. 32 is inconsequential.


                                   5Particularly improper are the affidavits. Affidavits are for Rule 56 motions. See
                             Fed.R.Civ.P. 56(c)(1)(a), (4). Plaintiffs can then later oppose with its own. Fed.R.Civ.P.
                             56(d).

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                                   Additionally, the State Defendants cite to two websites. See ECF No.

                             32, PageID# 499, 500. Courts have questioned this practice. “Many

                             documents in the possession of public agencies simply lack any indicia of

                             reliability whatsoever.” Freeman v. Town of Hudson, 714 F.3d 29, 36 (1st

                             Cir. 2013). Use of information from such outside sources is therefore limited

                             to only those facts subject to judicial notice under FRE 201. Id., at 37. FRE

                             201 allows this Court to take judicial notice of “a fact,” not a document, that
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                             is not subject to reasonable dispute. FRE 201(b)(1)-(2). In this case, the
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                             State Defendants never requested this Court to take such judicial notice of

                             any particular fact. Had they done so properly, Plaintiffs would then timely

                             request “to be heard on the propriety of taking judicial notice and the nature

                             of the fact [not the document] to be noticed.” FRE 201(e). However, to the

                             extent this Court would desire to use any fact from a document or website

                             outside of the record, Plaintiffs object and demands to be heard on the

                             propriety of taking any judicial notice. Id.

                                                               ARGUMENT

                             I.    STANDING

                                   As has been the common place in civil rights litigation, the State

                             Defendants challenge Plaintiffs’ standing. “[T]he standing inquiry requires




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                             careful judicial examination of a complaint’s allegations to ascertain whether

                             the particular plaintiff is entitled to an adjudication of the particular claims

                             asserted.” Allen v. Wright, 468 U.S. 737, 752 (1984). “For Article III standing

                             purposes, then, the plaintiff must allege personal injury fairly traceable to the

                             defendant’s allegedly unlawful conduct and likely to be redressed by the

                             requested relief.” Allen, supra, at 751. All three easily are met.

                                   Standing gets confused with success on the merits, even by seasoned
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                             litigators. In re Certification of Questions of Law, No. 18-01 (FISCR 2018)
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                             (available at https://bit.ly/2MQ41nG), at *10-15. We all know the established

                             standard for standing: a suffered “injury in fact” via a “concrete and

                             particularized” invasion of a legally protected interest; a “causal connection

                             between the injury and the conduct complained of;” and redressability. Lujan

                             v. Defenders of Wildlife, 504 U.S. 555, 561 (1992). Yet, it is crucial not to

                             conflate Article III’s requirement of standing with a plaintiff’s potential causes

                             of action. In re Certification, supra. “[T]he ultimate merits of the case have no

                             bearing on the threshold question of standing.” Campbell v. Minneapolis

                             Pub. Hous. Auth., 168 F.3d 1069, 1074 (8th Cir. 1999). Instead, “standing is

                             generally an inquiry about the plaintiff: is this the right person to bring this

                             claim?” Davis v. Wells Fargo, 824 F.3d 333, 348 (3d Cir. 2016). The

                             fundamental aspect of standing is that it focuses on the party seeking to get


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                             his complaint before a federal court and not on the issues he wishes to have

                             adjudicated. Flast v. Cohen, 392 U.S. 83, 99 (1968); see also Gregory v.

                             CitiMortgage, Inc., 890 F.Supp.2d 791, 797-798 (E.D. Mich. 2012).

                                   A.    The Infants and Parents Have Standing

                                   For its first argument, it suggested that the Parents themselves lack

                             standing to bring these claims for the Infants. “Minors, as well as adults, are

                             protected by the Constitution and possess constitutional rights.” Planned
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                             Parenthood of Central Missouri v. Danforth, 428 U.S. 52, 74 (1976).

                             “Constitutional rights do not mature and come into being magically only when
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                             one attains the state-defined age of majority.” Id. However, a minor must

                             bring any lawsuit he or she has for violation of his or her constitutional rights

                             through his/her parents or another legal representative. Fed.R.Civ.P. 17(c).

                             This is usually the parents of a minor plaintiff. Gonzalez v. Reno, 86

                             F.Supp.2d 1167, 1185 (S.D. Fla.), aff’d sub nom, 212 F.3d 1338 (11th Cir.

                             2000). When it comes to medical-based decisions, the law long recognizes

                             that parents speak for their minor child. E.g. Parham v. J.R., 442 U.S. 584

                             (1979). Given all this, parents must be the ones to bring suit when those

                             rights are invaded. Here, the State Defendants merely assert that the parents

                             lack standing. That has been suggested to be true solely for the Fourth

                             Amendment claims but has been rejected for the parental-based claims


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                             under the Fourteenth Amendment. Dubbs v. Head Start, Inc. 336 F.3d 1194,

                             1203-1204 (10th Cir. 2003) cert. denied, 540 U.S. 1179 (2004). Moreover,

                             the State Defendants’ assertion seems to implicitly concede that the Infants

                             have standing, which Plaintiffs agree. However, to assert those rights, the

                             minors’ parents must be present in the lawsuit as well. For purposes of this

                             case, the minors’ and their parents’ presence in the case under the Fourth

                             and Fourteenth Amendments must go hand-in-hand. Dubbs, supra, at 1204
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                             The Parents have appeared both as parents and next friends in this case.
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                                   In the same section of their brief, the State Defendants then assert that

                             because the Infants do not have a recognized, absolute right to have their

                             parent or guardian make medical decisions on their behalf, the Infants suffer

                             no injury when the State Defendants violate their constitutional rights. This

                             argument too has been rejected under Dubbs. Furthermore, the Supreme

                             Court has expressly rejected that a minor child is “the mere creature of the

                             State.” Parham, supra, at 602; see also Pierce v. Society of Sisters, 268 U.S.

                             510, 535 (1925). The “Supreme Court has long recognized the right of

                             parents to the care, custody and nurture of their children as a liberty interest

                             protected by the Fourteenth Amendment.” Doe v. Irwin, 615 F.2d 1162, 1167

                             (6th Cir. 1980). And if a parent has that right, the corollary is also true—a

                             child has a right to have his/her competent parents, and not the State, make


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                             key decisions about his/her medical care.6 Thus, legally-competent7 parents,

                             and not the State, are empowered and have the right to make decisions

                             regarding medical procedures being undertaken upon their Infant children,

                             and both parents and minors have standing when those rights are impinged.

                                   B.     Specific Conduct

                                   Next, the State Defendants collectively argue—in one sentence—that

                             “Plaintiffs have not alleged any personal involvement or injury that is “fairly
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                             traceable” to the specific conduct of any State Defendant.” Again, this case
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                             is at the pleading stage and Plaintiffs have alleged that the individual

                             defendants are all ‘control-level’ officials within the MDHHS who control the

                             NSP and have been alleged to have been part of the scheme to extract a

                             part of each Infants’ body for testing without consent; obtained by seizure

                             medical health data; and deprive the Infants and Parents their fundamental

                             liberty interests without due process of law. ECF No. 26, ¶¶22, 23, 24, 26,

                             44, 50, 88. Heightened specificity pleading is not required. Fed.R.Civ.P.




                                   6 In Dubbs, the Tenth Circuit suggests that the children’s interests advanced under
                             the rubric of substantive due process are subsumed by the parents’ claim and the Infants
                             lack standing here because they have a better Fourth Amendment claim. Plaintiffs do
                             not make this concession. But even if true, the case still continues as pled.
                                   7 Recognizing there are exceptions for cases of abuse or neglect, none of those

                             things are present in this case. No parent in this case has ever had their parental rights
                             deemed waived, forfeited, or taken.

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                             8(a)(2), 9.8 Moreover, liability can be assessed if the state actor directly

                             participated merely by encouraging, implicitly authorizing, approving or

                             knowingly acquiescing in the misconduct, if not carrying it out himself. Flagg

                             v. City of Detroit, 715 F.3d 165, 174 (6th Cir. 2013). See e.g. ECF No. 26-5;

                             ECF No. 26-6; ECF No. 26-7; ECF No. 26-8. Discovery will marshal in the

                             needed evidence solely held by and in possession of the defendants.

                                   C.     Storage
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                                   Next, the State Defendants assert that they “understand Counts IV and

                             V to relate only to storage.” This is not true. This case challenges, among
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                             other things, the seizure and then the later indefinitely test, keep, store, and

                             use the blood of the Infants—more than mere storage. E.g. ECF No. 26,

                             ¶110. Nevertheless, they argue Infants have not “suffered injury from storage

                             of their DBS” because their blood spots have never been used for research,

                             or for “law enforcement purposes” or “sold” to third parties. ECF No. 32,

                             PageID# 509. Counts IV and V are Fourth Amendment claims which the

                             State Defendants misunderstand.9 Again, the harm in this case is about



                                   8   The State Defendants also claim that Plaintiffs “appear to seek statewide relief.”
                             ECF No. 32, PageID# 508. No class action has been sought and the idea of “statewide
                             relief” is not demanded. See ECF No. 26, ¶118. The Plaintiffs’ claims rest solely on what
                             happened and is happening to them, and not any third parties.
                                     9 Counts IV and V alleged two theories: direct liability and conspiracy-based

                             liability. Revis v. Meldrum, 489 F.3d 273, 290 (6th Cir. 2007)(recognizing § 1983
                             conspiracy claim).

                                                                        14
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                             interference with legal rights in requiring consent. “It should go without saying

                             that adequate consent is elemental to proper medical treatment.” Dubbs,

                             supra, at 1207. By overpassing the legal obligation to obtain consent, the

                             State Defendants now illegally possess the Infants’ blood to then undertake

                             storage, use, and sale of the same. The wrong being challenged is the lack

                             of consent. The undertaking of the storage, use, and sale of the Infants’ blood

                             are the subsequent acts not allowed when consent was not obtained first.10
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                             ECF No. 26, ¶47.
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                                   The State Defendants also argue a lack of standing because the

                             Parents never requested for post-search destruction of their children’s

                             samples after the extraction. There is no legal right to the destruction of blood

                             samples.11 But that argument misses the point. This case is about the ab


                                   10  To make this easier to understand, Plaintiffs offer this analogy. The State
                             Defendants today seize a vehicle rather than blood without consent or a warrant. They
                             test the car for compliance with emission standards and when finding nothing then sends
                             the car a third party private nonprofit impound lot (i.e Carbank) where it sits for an
                             indeterminate amount of time until a future date when the government decides to use or
                             sell the car. Arguendo there is a statute confirming no consent is required. Applying the
                             State Defendants’ argument above, there is no Fourth Amendment violation because the
                             car is not being then-used by the police department or to shuttle an important official,
                             and that the car has not yet been sold. This Court would have no problem finding the
                             actions of the State Defendants to be an illegal search and on-going seizure. How is
                             blood any different? See Dubb, supra, at 1207 (the Fourth Amendment would be violated
                             if young children were subjected to intrusive physical examination and blood tests
                             without consent of the parents or without a court order or without a showing of “special
                             needs”).
                                    11 Contrary to its assertion, Michigan’s newborn screening law, MCL 333.5431, has

                             not listed, provided, or afforded any blood spot destruction or repatriation process to
                             destroy or return seized blood samples to parents. Moreover, Parents are never given

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                             initio illegality of the searching/seizure. The illegality still continues by the

                             further testing and indefinite storing/selling of blood samples given the lack

                             of proper consent. The State Defendants never should have had the Infant

                             blood samples in the first place. The blood samples’ current retention as the

                             fruit or continuance of the illegal search can be remedied by this Court.

                             “[W]hether an alternative remedy exists does not affect the jurisdiction of the

                             federal court.” Horne v. Dep’t of Agriculture, __ U.S. __, 133 S. Ct. 2053,
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                             2062 fn.6 (2013).12
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                                   D.     Conclusion

                                   Plaintiffs have standing to bring these constitutional claims.


                             the option to opt-out in the first instance because they are not afforded informed consent,
                             i.e. knowledge of the blood draw and testing, before heel-prick tests are administered.
                             MCL 333.5431(2)(statute purporting to waive Infants’ right of informed consent); see also
                             MCL 333.17520(1)(requiring informed consent for all genetic tests undertaken except for
                             newborn screening tests). A policy statement is not law. E.g. US v. Flemmi, 225 F.3d 78,
                             88 (1st Cir. 2000) (a government manual or policy book “merely provides guidance…
                             and does not have the force of law.”). Courts may “not uphold an unconstitutional statute
                             merely because the Government promise[s in policy statements] to use it responsibly.”
                             Stevens, supra, at 480. Trying to ‘correct’ an unconstitutional statute by construing it for
                             only permissible purposes does not fix the constitutional violations. Courts may not rely
                             on “the mercy of noblesse oblige” of the government to self-correct unconstitutional laws
                             by operation of bureaucratic fiat. Id.
                                    12 The State Defendants point to Higgins v. Texas Dep’t of Health Servs., 801

                             F.Supp.2d 541, 553 (W.D. Tex. 2011). Higgins specifically noted the blood samples in
                             dispute there were previously destroyed based on the statewide settlement Texas
                             entered into a previous case (known as Beleno). In other words, all the samples which
                             were collected without consent, including the minor children samples in Higgins, were
                             destroyed. Michigan has not taken Texas’ lead—the samples being obtained by
                             Michigan continue to be taken and stored without consent for future use and sale. That
                             is the up-the-chain challenge this case is taking. Michigan cannot rely on Higgins
                             because Michigan has not voluntarily destroyed held samples obtained without consent
                             because it still holds them today. Thusly, Higgins is distinguishable and irrelevant.

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                             II.   ELEVENTH AMENDMENT

                                   Plaintiffs specifically sought only relief “to the extent not prohibited

                             pursuant to the Eleventh Amendment to the United States Constitution.” ECF

                             No. 26, ¶118. Plaintiffs have named the Michigan Department of Health and

                             Human Services (MDHHS) as well as five state officials in both their

                             individual and official capacities. MDHHS has sought to dismiss itself13 under

                             the Eleventh Amendment. Sovereign immunity via the Eleventh Amendment
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                             protects states, as well as state officials sued in their official capacity for
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                             money damages, from suit in federal court; this includes MDHHS. Boler v.

                             Earley, 865 F.3d 391, 490 (6th Cir. 2017). There are two14 possible

                             exceptions to sovereign immunity in this case: (1) when the state has waived

                             immunity by consenting to the suit; and (2) when the doctrine set forth in Ex

                             Parte Young, 209 U.S. 123 (1908) applies. By its motion, it is clear that

                             MDHHS does not consent to this suit. The Ex Parte Young doctrine created

                             an immunity exception when plaintiffs bring claims for prospective relief

                             against state officials sued in their official capacity—rather than state

                             government department itself—to prevent future federal constitutional or



                                   13  The Eleventh Amendment provides no immunity for individual capacity claims.
                              Lewis v. Clarke, 581 U.S. __; 137 S. Ct. 1285, 1292 (2017).
                                    14 There is actually a third exception—when Congress abrogates immunity. But

                              federal law is clear that Section 1983 does not abrogate Eleventh Amendment
                              immunity. Will v. Mich. Dep’t of State Police, 491 U.S. 58, 66 (1989).

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                             statutory violation. Boler, supra, at 412. Plaintiffs have done just that. ECF

                             No. 26 ¶118(f)-(i). A suit against an official in his or her official capacity is

                             against the official’s office and thus the sovereign itself. Lewis, supra, at

                             1288. So, it is a merely matter of academic nicety to seek dismissal of

                             MDHHS completely instead of MDHHS simply acknowledging itself as

                             already subject to this Court’s jurisdiction as for prospective relief via Ex

                             Parte Young. Plaintiffs had hoped MDHHS would not hide behind immunity,
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                             but since it has the legal right to do so instead attempting to actually defend
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                             the questionable government program they trumpet is so great and valuable

                             to the public, dismissal solely as to MDHHS is appropriate but it still remains

                             bound by this suit through its officials under the Ex Parte Young doctrine.15

                             III.   INJUNCTIVE AND DECLARATORY RELIEF

                                    Next, the State Defendants challenge the “claim” for injunctive and

                             declaratory relief sought by Plaintiffs. ECF No. 32, PageID# 15. Sought

                             injunctive and declaratory relief is a form of relief, not a claim. See ECF No.

                             26, ¶118(f)-(i). And “relief” is what is awarded after defendants are found




                                    15  It is really ironic that MDHHS demands the option of consent to decide whether
                              to waive constitutional rights (under the Eleventh) yet is denying the same opportunity to
                              Plaintiffs to decide whether to waive their constitutional rights (under the Fourth and
                              Fourteenth).

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                             responsible when actual claims are adjudicated in Plaintiffs’ favor.

                             Challenging relief in a Rule 12(b)(6) is improperly postured.

                                   Plaintiffs do not dispute the “well-established” four-factor test for an

                             injunction. E.g. Barry v. Lyon, 834 F.3d 706, 720-721 (6th Cir. 2016).

                             However, “likely to be redressed by a favorable judicial decision” is the

                             redressability standard. Spokeo, Inc. v. Robins, 578 U.S. __; 136 S. Ct. 1540,

                             1547 (2016). This Court can “issue an injunction to prevent state officials
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                             from violating the Constitution…” Heartland Academy Comm. Church v.
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                             Waddle, 427 F.3d 525, 530 (8th Cir. 2005). Damages are awardable too.

                             Thus, redressability likelihood is easily met.16 The question is whether

                             Plaintiffs must prove their burden for relief, now, at the pre-answer stage of

                             litigation. The State Defendants assert that “Plaintiffs cannot establish any of

                             these [Barry] factors.” But isn’t that putting the cart before the horse when a

                             “complaint need not set down in detail all the particularities of a plaintiff's

                             claim?” Decorative Panels, supra, at 568. The State Defendants have

                             provided no precedence which requires a party-plaintiff to plead all factual




                                   16   Larson v. Valente, 456 U.S. 228, 244 fn.15 (1982)(“a plaintiff satisfies the
                             redressability requirement when he shows that a favorable decision will relieve a discrete
                             injury to himself. He need not show that a favorable decision will relieve his every
                             injury.”).

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                             entitlement to a particular type of relief in the complaint itself to survive a

                             Rule 12(b)(6) challenge.17

                                   The same is true for declaratory relief. The Declaratory Judgment Act

                             authorizes this Court to “declare the rights and other legal relations of any

                             interested party seeking such declaration, whether or not further relief is or

                             could be sought.” 28 U.S.C. § 2201(a) (emphasis added). “Any such

                             declaration shall have the force and effect of a final judgment or decree and
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                             shall be reviewable as such.” Id. Just as injunctive relief, the State
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                             Defendants have provided no precedence which requires a party-plaintiff to

                             prove entitlement to declaratory relief in the complaint itself. The State

                             Defendants’ argument is particularly strained given that the DJA provides

                             declaratory relief “whether or not further relief is or could be sought.” Id.

                             Plaintiffs have various remedies, ECF No. 26, ¶118, so redressability is met.

                             IV.   FAILURE TO STATE A CLAIM

                                   Next, the State Defendants charge that Plaintiffs fail to state a claim

                             because Plaintiffs failed to allege with particularity what each State



                                   17 If a party has no standing for a particular claim, it follows that no possible relief
                             can be granted. Once proven, the question becomes what relief is appropriate given the
                             facts of a case. If no relief—ranging from damages to equity—is ever possible, there
                             might be a redressability question. However, a wrong without a remedy is unacceptable
                             anomaly in the law. Peck v. Jenness, 48 U.S. 612, 623 (1849). If there be an admitted
                             wrong, the courts will look far to supply an adequate remedy. Laughlin v. Riddle Aviation
                             Co., 205 F.2d 948, 949 (5th Cir. 1953)(citing DeLima v. Bidwell, 182 U.S. 1 (1901)).

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                             Defendant “specifically” did to violate Plaintiffs’ liberty interests. ECF No. 32,

                             PageID# 515. Again, this is a clear misunderstanding of the posture of this

                             case and the role of Rule 12(b)(6) motions. Plaintiffs do not need to plead

                             “with particularity” what “specifically” was done by each defendant.

                             Decorative Panels, supra, at 568. We are at the pleadings stage and only a

                             “short and plain statement of the claim showing that the pleader is entitled to

                             relief” is required. Fed.R.Civ.P. 8(a)(2). Frankly, Plaintiffs do not know what
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                             each defendant “specifically” did but discovery will bear that out. However,
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                             each Defendant works and is part of the NSP testing which Plaintiffs have

                             alleged be an illegally search and seized of the blood spots of the Infants in

                             violation of the Fourth and Fourteenth Amendments. Plaintiffs have alleged

                             that each Defendant was part of a common scheme to deny the right to

                             decide whether “to accept or reject the medical procedure of the testing as

                             to all or some of the 50+ maladies, disorders, or diseases prior to a piercing

                             device breaching the outside skin of newborns to extract five or six blood

                             drops and seize those blood spots for medical testing and use by the

                             government.” These acts thereby deprived “the Infants their liberty interest

                             in their guardians self-making personal and private medical procedure

                             decisions without due process of law.” ECF No. 26, ¶87-88. “[A]t this stage,

                             [Plaintiffs are] not required to prove that [their] constitutional rights have in


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                             fact been violated” under a liberty due process claim. Teasel v. Laskowski,

                             2017 U.S. Dist. LEXIS 206174, at *15 (E.D. Mich. 2017)(LUDINGTON, J.) They

                             are “simply required to allege, via well-pleaded factual allegations, that a

                             legally protected interest… has been invaded.” Id. Plaintiffs have done that

                             here. Discovery will bear out the facts of this secret program being run

                             outside the knowledge and understanding of Michigan parents and their

                             infants. ECF No. 26, ¶4.
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                             V.    INDIVIDUAL CLAIMS
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                                   A.    Pleading Requirements

                                   The State Defendants continue the prior argument as to demanding

                             heightened-specificity pleadings as to the individual-capacity claims. They

                             falsely assert “plaintiff[s] must allege ‘with particularity’ ‘what each defendant

                             did to violate the asserted right’” citing Terrance v. Northville Reg'l

                             Psychiatric Hosp., 286 F.3d 834, 842 (6th Cir. 2002)(underlining added).

                             This is not the rule. Terrance was reviewed following a Rule 56 motion, not

                             a Rule 12(b)(6) motion. So while Plaintiffs do have this burden ultimately

                             after discovery, this is not their burden at the pleading stage. Again, only a

                             “short and plain statement of the claim showing that the pleader is entitled to

                             relief” is required. Fed.R.Civ.P. 8(a)(2).




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                                   B.    Fourteenth Amendment

                                         1.     A Liberty Interest Exists

                                   At last, the State Defendants attempt to attack the merits of Plaintiffs’

                             Fourteenth Amendment claims. ECF No. 32, PageID# 516. They argue—

                                   Plaintiffs provide no authority showing that a child has a fundamental
                                   right or liberty interest in having a parent or guardian make medical
                                   decisions on their behalf, or more specifically in having the parent
                                   refuse minimally invasive and potentially life-saving medical care.

                             ECF No. 32, PageID# 518. First, Plaintiffs do not need to “provide authority”
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                             in their pleadings. Fed.R.Civ.P. 8(a)(2); Decorative Panels, supra, at 568.
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                             Nevertheless, the foremost authority is Cruzan, which held that a competent

                             individual has a constitutional right to refuse any medical testing or treatment

                             as a protected liberty interest under due process. Cruzan, supra, at 278. As

                             for being at infant age, “[m]inors, as well as adults, are protected by the

                             Constitution and possess constitutional rights.” Planned Parenthood, supra,

                             at 74. Competent parents, not governmental officials, speak for and are

                             empowered to make decisions for their minor children in matters of medical

                             treatment. Parham, supra, at 603; Pierce v. Society of Sisters, 268 U.S. 510,

                             535 (1925). The State does not ipso facto assume parens patriae status over

                             every child in Michigan.18 The Supreme Court has long (and expressly)


                                   18 “The statist notion that governmental power should supersede parental authority
                             in all cases because some parents abuse and neglect children is repugnant to American

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                             rejected that a minor child is “the mere creature of the State.” Parham, supra,

                             at 602. The right to decide how to bring up a child—which includes medical

                             decisions—is a well-established fundamental constitutional right. E.g.

                             Pierce, supra, at 534-535; Meyer v. Nebraska, 262 U.S. 390, 399-401

                             (1923); Parham, supra, at 603; Troxel v. Granville, 530 U.S. 57, 65-66

                             (2000).19 “The history and culture of Western civilization reflect a strong

                             tradition of parental concern for the nurture and upbringing of their children.”
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                             Wisconsin v. Yoder, 406 U.S. 205, 232 (1972). “This primary role of the
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                             parents in the upbringing of their children is now established beyond debate

                             as an enduring American tradition.” Id. “It is cardinal… that the custody, care,

                             and nurture of the child reside first in the parents, whose primary function

                             and freedom includes preparation for obligations the state can neither

                             supply, nor hinder.” H.L. v. Matheson, 450 U.S. 398, 410 (1991).

                             “Constitutional interpretation has consistently recognized that the parents’

                             claim to authority in their own household to direct the rearing of their children

                             is basic in the structure of our society.” Ginsberg v. New York, 390 U.S. 629,




                             tradition.” Parham, supra, at 602-603. “[H]istorically it has recognized that natural bonds
                             of affection lead parents to act in the best interests of their children.” Id., at 602.
                                    19 “The liberty interest at issue in this case—the interest of parents in the care,

                             custody, and control of their children— is perhaps the oldest of the fundamental liberty
                             interests recognized by this Court... [W]e have recognized the fundamental right of
                             parents to make decisions concerning the care, custody, and control of their children.”

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                             639 (1968). Impingements on fundamental rights must survive heightened

                             strict scrutiny review. Seal v. Morgan, 229 F.3d 567, 574 (6th Cir. 2000).

                                   The closest and nearly on-point analogous case applying these

                             principles is Dubbs. In Dubbs, various government and private actors

                             (working as and with state actors) brought inter alia Fourth and Fourteenth

                             Amendment claims when children in a head start school program were

                             subject to physical exams, including blood tests, without parental notice or
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                             consent. The parents maintain that the exams (including the blood tests)
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                             compromised: 1) their children’s right to refuse medical treatment; and 2) the

                             parents’ own fundamental liberty interest in the care, custody and

                             management of their children. They claim that these rights are protected

                             under the doctrine of “substantive due process” under the Fourteenth

                             Amendment. The district court dismissed the claims concluding the violation

                             did not shock the conscience of the court. The Tenth Circuit reversed. The

                             appellate panel “questions” the district court’s rationale for dismissing these

                             claims, for two reasons. Id., at 1202. First, the district court over-depended

                             on the vague consent form in the school files which did not obtain full and

                             complete consent. Id. Second, the shock-the-conscience test was the wrong

                             constitutional test in this type of case. Id., at 1203. As to the latter, the panel

                             explained that these types of actions involving the lack of parental consent


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                             fit in the “more categorical protection for ‘fundamental rights’ as defined by

                             the tradition and experience of the nation.” Id. It was confirmed that “the right

                             to consent to medical treatment for oneself and one’s minor children—may

                             be ‘objectively, deeply rooted in this Nation’s history and tradition’” and thus

                             “it is not implausible to think that the rights invoked here — the right to refuse

                             a medical exam and the parent’s right to control the upbringing, including the

                             medical care, of a child — fall within this sphere of [fundamental] protected
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                             liberty.” Id. If the right being impinged is fundamental, its challenge is
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                             reviewed under strict scrutiny. E.g. Craigmiles v. Giles, 312 F.3d 220, 223

                             (6th Cir. 2002). “To survive strict scrutiny, the regulation must serve a

                             compelling state purpose and be narrowly tailored to achieving that

                             purpose.” Id. This is why the State Defendants’ assertion of not being

                             “conscience-shocking or irrational that Michigan, like every other State, runs

                             a newborn screening program and recognizes its importance to public

                             health” is legally erroneous. ECF No. 32, PageID# 518. Those are the wrong

                             tests per Dubbs.

                                   Thusly, to assert that there is no plausible authority (to survive a Rule

                             12(b)(6) challenge) supporting the existence of a liberty interest—whether

                             fundamental or otherwise—as to a child having a parent or guardian make

                             medical decisions on his or her behalf is both meritless and borders on


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                             frivolous under the prior precedence of Cruzan together with Parham, Pierce,

                             Meyer, Yoder, Ginsberg, and Matheson and as applied in Dubbs.20

                                         2.     Consent Is the Issue

                                   Not to throw in the towel, the State Defendants next suggest that “even

                             if such a fundamental right exists, the initial heel stick at issue is minimally

                             invasive and there is an available avenue to request destruction of the

                             samples.” This fails strict scrutiny. Infants and their parents have alleged a
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                             legally protected interest via a liberty interest in making their own medical
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                             decisions, see Birchfield, McNeely, and Cruzan, supra, and Defendants are

                             wrongfully invading the same. However, the State Defendants misconstrue

                             the wrong being challenged in this case; such blood draws (as medical

                             testing) never should have been taken in the first place in the absence of

                             consent from the parents. A policy-based, post-violation procedure does not

                             correct the wrong. Moreover, the question is not whether the blood draw was

                             authorized by a state statute or are/are not minimally invasive; it is whether

                             a state statute and self-made scheme allowing for medical decisions and

                             testing to be accomplished without the consent of the Infant vis-à-vis his or




                                   20But even if Court concludes contrary to Dubbs that such a fundamental right has
                             not been found yet, this case is asserting the same and the prior precedence makes the
                             argument easily plausible—which is all that is required at the pleading stage of a case.
                             Twombly, supra, at 555; see also Rule 11(b)(2).

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                             her Parents violates the Infant’s (or Parents’) constitutional right to refuse

                             any medical testing or treatment (or its corollary of the obtainment of

                             informed consent), in the first instance, from government officials in the face

                             of lack of consent. Plaintiffs plainly allege the same is not constitutional. It

                             fails under strict scrutiny or any other review level provided under Cruzan.

                                         3.     Misapplying Jacobson

                                   Just like the Biobank, the State Defendants place too much weight on
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                             the holding of Jacobson—it is simply not applicable in this case. Jacobson
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                             held that in a public health emergency a local board of health could require

                             vaccinations, over objections, when it was necessary for the public health or

                             the public safety. However, nearly 85 years later, the Supreme Court

                             explained a competent person (as extended to children per Parham, Pierce,

                             Meyer, Yoder, Ginsberg, and Matheson) has a constitutionally protected

                             liberty interest in refusing unwanted medical treatment.” Cruzan, supra, at

                             278.21 Reading the cases together, a proper distinction emerges. Laws that

                             are intended to prevent a person from harming others by disease contagion

                             can be justified as an exercise of police power under Jacobson, but laws that

                             are intended to affect only the health and well-being of an individual are


                                   21 “The [constitutional] principle that a competent person has a constitutionally
                             protected liberty interest in refusing unwanted medical treatment may be inferred from
                             our prior decisions.” Cruzan, supra, at 278.

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                             subject to challenge as unjustified violations of liberty rights under Cruzan.

                             This case falls in the latter because “[n]one of the maladies, disorders, or

                             diseases sought to be detected [by NSP blood tests] are contagious or can

                             spread by communitive human contact.” ECF No. 26, ¶57. In other words,

                             diseases being tested for cannot spread to third parties; there is no public

                             health crisis. Id. As a case involving the right to decide about one’s own body

                             and health (i.e. grant or withhold consent) with no effect on the general health
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                             of the remaining populace by contagion, the Cruzan framework applies. This
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                             is simply not a Jacobson-framework case.

                                   C.    Fourth Amendment

                                   The State Defendants also attack the Fourth Amendment claims as not

                             being plausible. They are correct the relief being sought is both a facial and

                             as applied attack on the nonconsensual processes performed or otherwise

                             encouraged, implicitly authorized, and/or acquiesced by the State

                             Defendants. And almost immediately, the State Defendants have mis-framed

                             the applicable jurisprudence. Luckily, Dubbs is available to provide guidance.

                                         1.    Fourth Amendment Framework

                                   The Fourth Amendment to the United States Constitution provides that

                             the Government shall not violate “[t]he right of the people to be secure in

                             their persons, houses, papers, and effects, against unreasonable searches


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                             and seizures.” U.S. Const. amend IV. “Searches conducted without a

                             warrant are per se unreasonable under the Fourth Amendment—subject

                             only to a few ‘specifically established and well-delineated exceptions.’”

                             Coolidge v. New Hampshire, 403 U.S. 443, 454-455 (1971). The State

                             Defendants have conceded that in these circumstances it would be

                             impossible to obtain a search warrant to perform the blood spot extractions.

                             ECF No. 32, PageID# 529. Thusly, “a warrantless search is reasonable only
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                             if it falls within a recognized exception.” McNeely, supra, at 1558. The burden

                             of proving a ‘specifically established and well-delineated’exception to the
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                             warrant requirement rests with the State Defendants. U.S. v. Jeffers, 342

                             U.S. 48, 51 (1951).

                                   Bottom line—if the blood tests undertaken by the State Defendants are

                             deemed a search (which Dubbs holds they are), they were unconstitutional

                             unless they were performed with a warrant or parental consent, or fall within

                             the ‘special needs’ exception to the warrant requirement. Dubbs, supra, at

                             1207. As shown, there is plausibly no available exception.

                                         2.    Attson Is Not Applicable

                                   The oft-repeated contention “that the Fourth Amendment does not

                             apply in the ‘noncriminal’ and ‘noninvestigatory’ context is without

                             foundation.” Dubbs, supra, at 1205.


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                                   The Fourth Amendment protects the right of the people to be “secure
                                   in their persons” from government intrusion, whether the threat to
                                   privacy arises from a policeman or a Head Start administrator. There
                                   is no “social worker” exception to the Fourth Amendment.

                             Id. Both the State Defendants and the Biobank, like the defendants in Dubbs,

                             cite to United States v. Attson, 900 F.2d 1427 (9th Cir. 1990) for the

                             proposition that because the intent in collecting the data was not for law

                             enforcement purposes the exams were not “searches” subject to Fourth

                             Amendment protections. Dubbs flatly rejected that contention and counter-
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                             concluded that Attson is easily distinguishable for children medical testing
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                             cases.

                                   In Attson, the medical procedure was consensual; the real issue was
                                   the legality of providing the results to police. Here, the plaintiffs contend
                                   that the medical examination itself was performed without consent.

                             Dubbs, supra, at 1205. “The focus of the Amendment is thus on the security

                             of the person, not the identity of the searcher or the purpose of the search.”

                             Id., at 1206. As a pre-McNeely and pre-Birchfield decision, Dubbs correctly

                             explains that medical exams including the blood tests, trigger Fourth

                             Amendment protections. That conclusion becomes even stronger with the

                             Supreme Court’s more recent rulings in McNeely and Birchfield.

                                         3.    Special Needs Doctrine

                                   The only possible exemption that could be tried is “special needs.”




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                                   “Special needs” is the label attached to certain cases where “special
                                   needs, beyond the normal need for law enforcement, make the warrant
                                   and probable-cause requirement impracticable.”

                                   In special needs cases, the Court replaces the warrant and probable
                                   cause requirement with a balancing test that looks to the nature of the
                                   privacy interest, the character of the intrusion, and the nature and
                                   immediacy of the government's interest. Id., at 2565-67.

                             Dubbs, supra, at 1212-1213. Claiming a special need for a blood draw and

                             testing is seemingly precluded under Supreme Court post-Dubbs decisions

                             in McNeely and Birchfield. The Supreme Court was forthright: “blood tests
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                             are a different matter.” Birchfield, supra, at 2178. A blood test places in the
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                             hands of government a bodily sample that can be preserved and from which

                             it is possible to extract information beyond its original purpose. Id. The

                             process itself is a compelled physical intrusion beneath skin after piercing

                             and extracting a part of the subject’s body. Id. For newborn testing (as an

                             even more extreme use than for BAC testing), the government takes the

                             blood to its facilities where it withdraws, by scientific extraction, highly

                             personal information about a person’s core genetic makeup, i.e. the essence

                             of their person containing their deeply-private personal medical information.

                             It then records and keeps that expropriated information in government files

                             and databases. Defendants’ scheme to invasively pierce the skin and extract

                             the same without consent or a warrant involves the “most personal and deep-

                             rooted expectations of privacy. McNeely, supra, at 1558. The excess blood

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                             spots not used up in the NSP testing remained seized and then sent on to

                             the Biobank (even though no Parent has approved this transfer to such a

                             private third-party non-profit) where the spots are then indefinitely stored for

                             uses other than newborn disease screening. Our highest court recognized

                             that even if the government “is precluded from testing the blood for any

                             purpose other than [its original purpose], the potential remains and may

                             result in anxiety for the person tested.” Id. Thus, according to the Supreme
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                             Court, a warrant is needed for the government to extract blood when consent
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                             is not first obtained.

                                   But even in applying the special needs exemption to children’s blood

                             extraction and medical testing, Dubbs still rejects its viability. “It is plain that,

                             if performed without the necessary consent, the searches were

                             unconstitutional even if we employ the ‘special needs’ balancing test.”

                             Dubbs, supra, at 1214 (emphasis added). Even if conducting across-the-

                             board medical tests on minors is “an effective means of identifying physical

                             and developmental impediments in children, this supplies no justification for

                             proceeding without parental notice and consent.” Id. Dubbs further explained

                             that parental notice and consent is not impracticable in this context. Id., at

                             1215. Given this, “the ‘special needs doctrine’ would not excuse the failure

                             to obtain parental consent for the examinations.” Id.


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                                         4.     Storage and Retention

                                   The State Defendants cursory argue that the storage and retention as

                             a continuation of the seizure of the Infants’ blood is also not a Fourth

                             Amendment violation because the “same authority is applicable.” ECF No.

                             32, PageID# 523. They suggest that the existence of anonymous numeric

                             coding and secured facilities (without proof or factual explanation of either22)

                             warrants dismissal of the claim. They also suggest that continuous
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                             involvement of the Community Values Advisory Board and Scientific
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                             Advisory Board, together with required oversight, review, and approval by

                             the MDHHS Institutional Review Board can substitute for parental consent.23

                             Both are not legally supportable as a matter of law to warrant full and

                             complete dismissal of Plaintiffs’ Fourth Amendment claims. Ongoing seizure

                             from an original search constitutes a Fourth Amendment violation. The claim

                             is clearly plausible.

                                         5.     Civil Conspiracy

                                   Plaintiffs have also pled a conspiracy theory claim. ECF No. 26, Count

                             V. A civil conspiracy under § 1983 is “an agreement between two or more



                                   22These assertions fall outside the pleadings and matters outside the pleadings
                             may not be considered in ruling on a 12(b)(6) motion to dismiss unless the motion is
                             converted to one for summary judgment under Fed. R.Civ.P. 56. Jackson v. City of
                             Columbus, 194 F.3d 737, 745 (6th Cir. 1999)
                                  23 See prior footnote.



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                             persons to injure another by unlawful action.” Bazzi v. City of Dearborn, 658

                             F.3d 598, 602 (6th Cir. 2011). Plaintiffs “ha[ve] successfully pled a § 1983

                             conspiracy by alleging that (1) a single plan existed, (2) the conspirators

                             shared a conspiratorial objective to deprive the plaintiffs of their constitutional

                             rights, and (3) an overt act was committed.” Revis, supra, at 290. “Express

                             agreement among all the conspirators is not necessary to find the existence

                             of a civil conspiracy...” Bazzi, supra, at 602. This makes sense because
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                             “rarely in a conspiracy case will there be direct evidence of an express

                             agreement among all the conspirators to conspire.” Weberg v. Franks, 229
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                             F.3d 514, 528 (6th Cir. 2000). Thusly, a plaintiff may rely on circumstantial

                             evidence to establish an agreement among the conspirators. Id.; see also

                             Hensley v. Gassman, 693 F.3d 681, 695 (6th Cir. 2012)(same). Moreover,

                             each conspirator need not have known all of the details of the illegal plan or

                             all of the participants involved to still be part of an illegal conspiracy. Bazzi,

                             supra, at 602.

                                   The individual State Defendants are all part of the NSP and have

                             different roles to reach the constitutional outcome of overtly extracting

                             newborns’ blood without consent or a warrant by state action. Thusly,

                             Plaintiffs have sufficiently pled a conspiracy-based Fourth Amendment

                             theory.


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                                   D.    Conclusion

                                   Plaintiffs have pled plausible Fourth and Fourteenth Amendment

                             claims. The Rule 12(b)(6) motion should be denied in full

                             VI.   QUALIFIED IMMUNITY

                                   The State Defendants assert qualified immunity under a Rule 12(b)(6)

                             motion. Qualified immunity has two parts. The first step is to determine if the

                             facts alleged make out a violation of a constitutional right; the second is to
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                             ask if the right at issue was clearly established when the event occurred such
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                             that a reasonable officer would have known that his or her conduct violated

                             it. Martin v. City of Broadview Heights, 712 F.3d 951, 957 (6th Cir. 2013).

                             “This is not to say that an official action is protected by qualified immunity

                             unless the very action in question has previously been held unlawful, but it

                             is to say that in the light of pre-existing law the unlawfulness must be

                             apparent.” Hope v. Pelzer, 536 U.S. 730, 739 (2002)(emphasis added); see

                             also Russo v. City of Cincinnati, 953 F.2d 1036, 1042 (6th Cir. 1992).

                             General statements of law are capable of giving clear and fair warning. Smith

                             v. Cupp, 430 F.3d 766, 776-777 (6th Cir. 2012). A case “directly on point” is

                             not required. Ashcroft v. al-Kidd, 563 U.S. 731, 741 (2011). “An action’s

                             lawfulness can be apparent from [1.] direct holdings, [2.] from specific

                             examples described as prohibited, or [3.] from the general reasoning that a


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                             court employs.” Feathers v Aey, 319 F.3d 843, 848 (2003). This can be

                             established from decisions in other circuits and even secondary sources.

                             Barker v. Goodrich, 649 F.3d 428, 435-436 (6th Cir. 2011).

                                   A.    Inappropriate At This Stage

                                   QI is unavailable at this stage. First, it is “generally inappropriate” to

                             seek qualified immunity via a Rule 12(b)(6) motion. Westley v. Campbell,

                             779 F.3d 421, 433 (6th Cir. 2015); Kaminski v. Coulter, 865 F.3d 339, 344
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                             (6th Cir. 2017)(same). Only truly “insubstantial claims against government

                             officials should be resolved... prior to broad discovery.” Johnson v. Moseley,
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                             790 F.3d 649, 653 (6th Cir. 2015). Although “qualified immunity is a threshold

                             question to be resolved at the earliest possible point, that point is usually

                             summary judgment and not dismissal under Rule 12.” Id., at 433-434. The

                             fact-intensive nature of the applicable tests makes it “difficult for a defendant

                             to claim qualified immunity on the pleadings before discovery.” Evans-

                             Marshall v. Bd. of Educ. of Tipp City Exempted Village Sch. Dist., 428 F.3d

                             223, 235 (6th Cir. 2005)(SUTTON, J., concurring). The qualified immunity

                             resolution “point is usually summary judgment,” not pre-answer dismissal.

                             Wesley, supra, at 433-434; see also Jacobs v. City of Chicago, 215 F.3d

                             758, 775 (7th Cir.2000) (EASTERBROOK, J., concurring). “[T]he standard for a

                             12(b)(6) motion is whether the allegations, if taken as true, could state a


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                             claim upon which relief may be granted, [and] dismissal of [the state actors]

                             on the basis of qualified immunity is premature.” Grose v. Caruso, 284 Fed.

                             App’x. 279, 283 (6th Cir. 2008). Despite this standard, the State Defendants

                             tactily concede this inquiry is “fact-specific, case-by-case basis,” citing Pray

                             v. City of Sandusky, 49 F.3d 1154, 1158 (6th Cir. 1995).

                                   B.     Wrong Standard

                                   The State Defendants asserted that “once qualified immunity is
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                             asserted, the plaintiff must allege facts sufficient to show that: (1) the official’s
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                             acts violated a federal right; and (2) the right at issue was clearly established

                             at the time of the defendant’s alleged misconduct.,” citing Barker. Like

                             before, that is not the holding of Barker, as that case was a review of decision

                             on a Rule 56 motion after discovery had concluded. Plaintiffs acknowledge

                             it does have the burden of proving at the post-discovery merits stage that the

                             official’s acts violated a federal right and the right at issue was clearly

                             established at the time of the defendant’s alleged misconduct. But this is not

                             needed until after discovery. See e.g. Horn v. City of Covington, No. 14-73,

                             2015 WL 4042154, at *6 (E.D. Ky. July 1, 2015)(plaintiffs “need not make

                             detailed factual allegations about which officer committed which act... That

                             burden is reserved for later stages of the litigation.”).




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                                   C.        Apparentness

                                   It   is    explicit   from   binding   Supreme   Court   precedence—a

                             nonconsensual search and seizure of blood requires a warrant and failure to

                             obtain the same is a Fourth Amendment violation. Birchfield, supra; see also

                             McNeely, supra. But even before Birchfield, it is also easily apparent and

                             clear by the direct holding and general reasoning in Dubbs that a search of

                             and seizing a new child’s blood without consent is unlawful and that any
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                             claims to the special needs exemption to render the search from per se
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                             warrantlessly unreasonable to reasonable is unavailable.

                                   Same apparentness can also be said of the liberty interests under the

                             Fourteenth Amendment. Legally-competent parents, and not the State, are

                             empowered and have the right to make decisions regarding medical

                             procedures being undertaken on behalf of their Infant children under Cruzan,

                             Parham, Pierce, Meyer, Yoder, Ginsberg, and Matheso. To the extent that

                             an official could not have read the multiple cases together, Dubbs distills the

                             same into in a well-articulated decision providing clear general reasoning

                             and general principles from which a reasonable official would have known its

                             action were and are wrong. And more directly, another federal district court

                             has found that the same Fourth and Fourteenth claims are plausible as to

                             Texas’ similar NSP law because valid claims were made against those state


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                             defendants “routinely collected blood samples from all babies in Texas at

                             time of birth and stored this blood or ‘spots’ indefinitely… for undisclosed

                             research unrelated to the purposes for which the blood was originally drawn,

                             without the knowledge or consent of the parents and “the infant blood spots

                             contain deeply private medical and genetic information, and were

                             expropriated without knowledge or consent.” Beleno v. Lakey, 2009 U.S.

                             Dist. LEXIS 140243 (W.D. Tex. 2009). Thusly, QI is not available.
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                                                        RELIEF REQUESTED
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                                   For all the reasons and law cited above, especially Dubbs, together

                             with the allegations and exhibits attached to the First Amended Complaint,

                             Plaintiffs have met their burden to provide a “short and plain statement of the

                             claim showing that the pleader is entitled to relief,” Fed.R.Civ.P. 8(a)(2), to

                             make the claims plausible per Twombly and Duramax Diesel Litigation.

                                   WHEREFORE, the motion to dismiss pursuant to Rule 12(b)(1) and

                             (b)(6) for the reasons raised by the State Defendants in their official and

                             personal capacities should be denied. Dismissal of MDHHS is warranted

                             under the Eleventh Amendment by its failure to voluntarily waive immunity.

                             Date: July 6, 2018                     RESPECTFULLY SUBMITTED:

                                                                    /s/ Philip L. Ellison
                                                                    OUTSIDE LEGAL COUNSEL PLC
                                                                    PHILIP L. ELLISON (P74117)
                                                                    Counsel for Plaintiffs

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                                                     CERTIFICATE OF SERVICE

                                   I, the undersigned attorney of record, hereby certify that on the date

                             stated below, I electronically filed the foregoing with the Clerk of the Court

                             using the ECF system which will send notification of such filing to all counsel

                             or parties of record.

                             Date: July 6, 2018                     RESPECTFULLY SUBMITTED:

                                                                    /s/ Philip L. Ellison
                                                                    OUTSIDE LEGAL COUNSEL PLC
OUTSIDE LEGAL COUNSEL PLC




                                                                    PHILIP L. ELLISON (P74117)
                                                                    Counsel for Plaintiffs
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